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 3                       UNITED STATES DISTRICT COURT
 4                             DISTRICT OF NEVADA
 5   SAMISONI TAUKITOKU,                   Case No. 3:16-cv-00762-HDM-CSD
 6                         Petitioner,
                                                         ORDER
 7        v.
 8
     WARDEN FILSON, et al.,
 9
                           Respondents.
10

11        Good   cause   appearing,   Petitioner’s   Unopposed    Motion     for
12   Extension of Time to file Response in Opposition to Motion to
13   Dismiss (First Request) (ECF No. 86) is granted. Petitioner has
14   until December 5, 2022, to file a response in opposition to
15   Respondents’ motion to dismiss.
16        IT IS SO ORDERED.
17        DATED: this 11th day of October, 2022.
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19                                          HOWARD D. MCKIBBEN
                                            UNITED STATES DISTRICT JUDGE
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